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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN


WILLIAM SWARVAR,

         Plaintiff,

-vs-                                                        CASE NO: 1:14-cv-1302
                                                            HON.: PAUL L. MALONEY

MUSKEGON CHARTER TOWNSHIP,
MATTHEW ANDERSON, and JOSEPH
LUCE, in their individual and official capacities,

         Defendants.

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                                  JOINT STATUS REPORT

         A Rule 16 Scheduling Conference is scheduled for May 1, 2015 at 10:30 a.m. before

Hon. Paul L. Maloney. Appearing for the parties as counsel will be: Bradley R. Johnson, Esq. on

behalf of the Plaintiff, and G. Gus Morris, Esq. on behalf of Defendants.
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1)     Jurisdiction

       The basis for the Court’s jurisdiction is 28 U.S.C. §1331 [federal question] and 28 U.S.C.

§1343 [civil rights] for violations of the Fourth Amendment and a Monell claim relating to

Defendant Muskegon Charter Township.

2)     Jury or Non-Jury

       This case is to be tried before a jury.

3)     Judicial Availability:

       The parties do not agree to have a United States Magistrate Judge to conduct any and all

further proceedings in the case, including trial and to order the entry of final judgment.

4)     Geographic Transfer:

       It is the parties’ position that a geographic transfer for geographic convenience is not

warranted in this case.

5)     Statement of the Case:

Plaintiff’s Statement of the Case

       This case involves the use of excessive force against Plaintiff William Swarvar in

violation of the Fourth Amendment of the United States Constitution against Defendants

Matthew Anderson and Joseph Luce as well as Defendant Muskegon Charter Township reckless

indifference in practicing and/or permitting customs, policies, and/or practices that resulted in the

constitutional violations.

       On or about December 24, 2012, Plaintiff and his girlfriend were asleep in their

apartment. That sometime thereafter, Plaintiff’s girlfriend awoke to find Plaintiff having a

seizure. That Plaintiff’s girlfriend called 911 and the Muskegon County Fire Department and Pro

Med EMS services arrived. By the time the first responders arrived, Plaintiff seemed to have




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recovered from his seizure and was walking around his apartment although he was confused and

dazed as a result of the seizure.

       Despite Plaintiff’s need of medical attention, the individual Defendants were dispatched

to Plaintiff’s residence, upon information and belief, to force medical treatment upon him. When

the Defendant Luce and Defendant Anderson arrived, Plaintiff was walking around his apartment

and not engaged in any unlawful activities whatsoever. Defendant Luce and Defendant Anderson

entered Plaintiff’s apartment and ordered him to seek medical treatment even though Plaintiff did

not need said treatment.

       Even though Plaintiff was no harm to anyone, including himself, Defendant Luce

forcefully grabbed Plaintiff’s arm without any justification whatsoever. Defendant Anderson

then tazed Plaintiff in the chest for no justification whatsoever. Plaintiff was subsequently tazed

approximately three more times, as well as pepper sprayed, by Defendant Anderson for no legal

justification whatsoever and without warning. Defendant Luce and Defendant Anderson

subsequently threw Plaintiff to the ground, forcefully slammed his head into the cement porch,

and unjustly kneed his face as well.

       As a result of Defendants’ constitutional violations, Plaintiff has brought the following

causes of action: (1) Excessive Force as to Defendants Luce and Anderson—Fourth Amendment

and (2) Monell claim as to Defendant Muskegon Charter Township.

Defenses of Defendants:

       On December 24, 2012, at approximately 1:12 a.m., Plaintiff’s girlfriend, Tiffany Grover,

called 911 because Plaintiff was seizing. The Muskegon Township Fire Department responded.

Officer Matthew Anderson and Officer Joseph Luce were then dispatched in response to

Muskegon Township Fire Department requesting assistance at Plaintiff’s apartment due to




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Plaintiff’s combativeness. When the officers arrived at the apartment, they were told by the

EMS attendants and the firemen that the Plaintiff needed to go to the hospital for his seizures and

other unknown medical conditions, i.e., Plaintiff appearing to be under the influence of

controlled substances. Plaintiff’s girlfriend had told them that Plaintiff had been in methadone

clinics for using unknown substances.

       Officers Anderson and Luce entered the apartment and tried to talk to Plaintiff. Plaintiff

was running around the apartment; jumping on furniture; and going in and out of various rooms,

despite the officers’ verbal instructions to Plaintiff to calm down. Officer Luce grabbed the

Plaintiff’s arm in an attempt to take him outside to the ambulance. Plaintiff pulled away from

him and then walked aggressively towards him, at which time Officer Luce was forced to push

Plaintiff away. Plaintiff then pushed Officer Luce. Plaintiff was ordered not to touch Officer

Luce and to get into the ambulance. Plaintiff again walked toward Officer Luce in a threatening

manner. Officer Luce again pushed him away. Plaintiff then again pushed Officer Luce. At this

time, Officer Anderson deployed his taser, hitting Plaintiff in the chest. Plaintiff stood up,

screamed, turned around, broke the taser wires and attempted to push the door closed on the

officers. Officer Luce was able to open it, reached through the door and deployed his taser,

hitting Plaintiff in the chest. This had no effect on Plaintiff and he ran outside, breaking the taser

wires. Officer Luce deployed another taser cartridge, hitting Plaintiff in the back. Plaintiff went

down to his knees. The police officers, firemen and EMS attendants attempted to restrain

Plaintiff, but Plaintiff continued to fight and resist. Officer Anderson then sprayed Plaintiff with

pepper spray. This also had little or no effect on Plaintiff. However, the officers were then able

to handcuff Plaintiff with the assistance of the EMS attendants and the firemen, and Plaintiff was

placed in an ambulance and transported to Hackley Hospital, where he was admitted. Plaintiff




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continued to fight with hospital staff and the police officers in the hospital room. The police

officers assisted the hospital staff by holding Plaintiff down.

        Plaintiff was charged with assaulting, resisting and obstructing Officer Luce.         It is

defense counsel’s understanding that Plaintiff pled no contest to attempted assaulting, resisting

and obstructing in exchange for dismissal of the charge of assaulting, resisting and obstructing a

police officer.

        Officers Luce and Anderson only used that amount of force reasonably necessary under

the circumstances to gain control of Plaintiff and in response to Plaintiff’s assault. The officers

did not violate Plaintiff’s constitutional rights and their actions were at all times objectively

reasonable, which entitles them to qualified immunity.

        Furthermore, the Charter Township of Muskegon is not liable to Plaintiff as there was no

constitutional violation and there was no practice, policy or procedure which caused a

constitutional violation. For this same reason, the officers are not liable to Plaintiff in their

official capacities.

6)      Pendent State Claims

        This case does not include pendent state claims.

7)      Joinder of Parties and Amendment of Pleadings

        The parties expect to file all motions for joinder of parties to this action and to file all

motions to amend the pleadings by June 15, 2015. As of this writing, the parties are not aware of

the need to join any parties or amend the pleadings. However, the parties reserve the right to do

so, if the need arises during the course of discovery.




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8)      Disclosures and Exchanges

        (i) Fed R. Civ P. 26(a)(1) requires initial disclosures unless the court orders otherwise.

The parties propose the following schedule for Rule 26(a)(1) disclosures:

        (ii)   The Plaintiff expects to be able to furnish the names of plaintiff’s expert witnesses

by August 14, 2015. Defendants expect to be able to furnish the names of the Defendants’ expert

witnesses by September 15, 2015.

        (iii) The parties will exchange written expert witness reports as contemplated by Fed. R.

Civ. P. 26(a)(2). reports, if required, should be exchanged according to the following schedule:

        Plaintiff’s Expert Disclosure Reports will be due on October 15, 2015.

        Defendants’ Expert Disclosure Reports will be due on November 16, 2015.

        (iv)   The parties are unable to agree on voluntary production at this time.

9)      Discovery

        The parties believe that all discovery proceedings can be completed by February 15,

2016. The parties recommend the following discovery plan:

        The parties expect that the subjects on which discovery may be needed include: liability,

causation, and damages. At this time, the parties do not anticipate the need to recommend any

additional limitations on discovery.

10)     Disclosure or Discovery of Electronically Stored Information

        The parties have discussed the production of electronically stored information and

suggest that such information be handled as follows: The parties anticipate that most discovery

will be produced in paper format. Should one party request the production of electronically

stored information (“ESI”) and if there exists any ESI responsive to a party’s discovery request,

the parties agree to negotiate in good faith over: (1) the form of the production (ESI, paper, or




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both), (2) whether any ESI will be produced in its native format or some other searchable format,

(3) the expected volume of production, (4) the need for and use of a third-party vendor to assist

in the retrieval search and/or production of ESI, (5) whether search terms should be used to limit

or refine the ESI to be produced, and if so, (6) the search terms and methodologies to be

employed.

11)     Assertions of Claims of Privilege or Work-Product Immunity After Production

        As of this date, the parties have not agreed on a procedure to address claims of privilege

or work product immunity for items inadvertently produced during discovery.

12)     Motions

        The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the moving party to

ascertain whether the motion will be opposed. All motions shall affirmatively state the efforts of

the moving party to comply with the obligation created by Rule 7.1(d). The following dispositive

motions are contemplated by each party: the parties contemplate a Motion for Summary

Judgment. As indicated above, the parties will file their respective dispositive motions on or

before March 15, 2016.

13)     Alternative Dispute Resolution

        The parties recommend that the case be submitted to the following method of non-

binding alternative dispute resolution after the completion of further discovery: voluntary

facilitative mediation.

14)     Length of Trial

        Counsel estimate the trial will last approximately 4 full days total, allocated as follows: 2

days for Plaintiff’s case, 2 days for Defendants’ case.




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15)     Prospects of Settlement

        The parties have not yet discussed the prospects of settlement to date. However,

settlement cannot be evaluated prior to the commencement and/or the completion of discovery.

16)     Other

        Set forth any special characteristics that may warrant extended discovery, accelerated

disposition by motion, or other factors relevant to the case: None.



APPROVED BY:



s/Bradley R. Johnson                                         s/Gina U. Puzzuoli
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Dated: April 28, 2015                                        Dated: April 28, 2015




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